      Case: 1:21-cv-04531 Document #: 1 Filed: 08/24/21 Page 1 of 17 PageID #:1



                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 DIANA DUDA, individually and on behalf of all          Case No. 1:21-cv-4531
 others similarly situated,

        Plaintiff,                                      CLASS ACTION COMPLAINT

 v.
                                                        (JURY TRIAL DEMANDED)
 MEREDITH CORPORATION,

        Defendant.

       Plaintiff Diana Duda (“Plaintiff”), individually and on behalf of herself and all others

similarly situated, by and through her attorneys, makes the following allegations further to the

investigation of her counsel and based upon information and belief, except as to allegations

specifically pertaining to herself and her counsel, which are based on personal knowledge.

                                       INTRODUCTION

       1.       To supplement its revenues during the time period relevant to this action,

Defendant Meredith Corporation (“Meredith”) publicly used and held out Plaintiff’s and the other

Class members’ identities for commercial purposes when it offered for sale and sold mailing lists

that identified, by name, address and other personal attributes, Plaintiff and every other Illinois

subscriber to its magazine publications, including InStyle magazine to which Plaintiff subscribed.

       2.       Defendant’s offers to sell its mailing lists were directed to the community at large,

and indeed Defendant sold these lists to any member of the public willing to pay for them,

including data miners, data aggregators, data appenders, data cooperatives, list brokers, aggressive

marketing companies, political organizations, non-profit companies and various other parties.

       3.       Meredith’s public use and holding out of Plaintiff’s identity on the mailing lists

that it sells and offers to sell (including in connection with the InStyle magazine subscription

previously sold to Plaintiff) directly violated Illinois’s Right to Publicity Act, 765 ILCS 1075, et

seq. (the “IRPA”).

       4.       Documented evidence confirms these facts.          For example, Meredith, either
Case: 1:21-cv-04531 Document #: 1 Filed: 08/24/21 Page 2 of 17 PageID #:2
      Case: 1:21-cv-04531 Document #: 1 Filed: 08/24/21 Page 3 of 17 PageID #:3




See Exhibit A hereto.

        5.       The IRPA clearly prohibits what Meredith has done. Section 30 of the IRPA

provides:
                A person may not use an individual’s identity for commercial
                purposes during the individual’s lifetime without having obtained
                previous written consent from the appropriate person or persons
                specified in Section 20 of this Act or their authorized representative.
765 ILCS 1075/30.

        6.       The IRPA defines “identity” as “an attribute of an individual that serves to identify

the individual to an ordinary, reasonable viewer, or listeners including but not limited to (i) name,

(ii) signature, (iii) photograph, (iv) image, (v) likeness, or (vi) voice.” IRPA § 5.

        7.       And, the IRPA defines “commercial purpose” as “the public use or holding out of

an individual’s identity (i) on or in connection with the offering for sale or sale of a product,

merchandise, goods, or services; (ii) for purposes of advertising or promoting products,

merchandise, goods, or services; or (iii) for the purpose of fundraising.” Id.

        8.       Thus, by offering to sell to the community at large and by selling, on the open

market to the general public, mailing lists that identify, by name and other personally identifying

attributes, each of the Illinois residents (including Plaintiff and each member of the Class) to whom

it sold a subscription to a particular magazine, without any of these individuals’ consent (written

or otherwise), Meredith directly violated the IRPA.

        9.       The IRPA was enacted to recognize each Illinois resident’s right of publicity as

the “right to control and to choose whether and how to use an individual’s identity for commercial

purposes.” 765 ILCS 1075/10.

        10.      Meredith has deprived Plaintiff and Class members of this right by surreptitiously

selling mailing lists on which purchasers of subscriptions to its publications are identified, without

notifying much less obtaining consent from Plaintiff and Class members prior to engaging in these

practices, let alone allowing Plaintiff and Class members to control or choose whether and how

their identities are used in this way.

        11.      Meredith’s public use and holding out of its subscribers’ identities for commercial
                                                  3
      Case: 1:21-cv-04531 Document #: 1 Filed: 08/24/21 Page 4 of 17 PageID #:4




purposes is not only unlawful, it is also dangerous because it allows any member of the public

willing to purchase this data to target particular subscribers, including vulnerable members of

society, using their identity, interests and other demographic data. So while Meredith profits

handsomely from the use of its customers’ identities in this way, it does so at the expense of its

customers’ statutory right of publicity.

        12.      Accordingly, Plaintiff brings this Class Action Complaint against Meredith for its

unlawful use of its customers’ identities in violation of the IRPA.

                                              PARTIES

         13.     Plaintiff Diana Duda is, and at all times relevant to this action has been, a natural

person and a resident and citizen of the State of Illinois, residing in Glenwood, Illinois. During

the time period relevant to this action, Plaintiff subscribed to Meredith’s InStyle magazine, which

she purchased from Meredith while residing in, a citizen of, and present in Illinois.

         14.     Defendant Meredith Corporation is an Iowa corporation with its headquarters and

principal place of business in Des Moines, Iowa. Meredith is registered to do and does business

throughout Illinois and the entire United States. Meredith is the publisher of, among others, the

magazines Better Homes and Gardens, Living the Country Life, Entertainment Weekly, Food &

Wine, Health, Midwest Living, People, Parents, Real Simple, Shape, Southern Living, Travel +

Leisure, Wood, FamilyFun, Rachel Ray in Season, and InStyle.

                                  JURISDICTION AND VENUE

        15.      This Court has subject matter jurisdiction over this civil action pursuant to 28

U.S.C. § 1332(d) because there are more than 100 class members and the aggregate amount in

controversy exceeds $5,000,000, exclusive of interest, fees and costs, and at least one Class

member is a citizen of a state different from Defendant.

        16.      The Court has personal jurisdiction over Meredith because Plaintiff’s claims arose

in substantial part from actions and omissions in Illinois, including from Plaintiff’s purchase of an

InStyle subscription in Illinois, Meredith’s direction of such InStyle subscription into Illinois, and

Meredith’s failure to obtain Plaintiff’s written consent in Illinois prior to publicly using her identity
                                                   4
         Case: 1:21-cv-04531 Document #: 1 Filed: 08/24/21 Page 5 of 17 PageID #:5




to sell and offer to sell mailing lists identifying her as an InStyle subscriber and containing other

Personal Reading Information about her, including her name and residential address in Illinois, to

another person, the effects of which were felt from within Illinois by Plaintiff, a citizen and resident

of Illinois. Personal jurisdiction also exists over Meredith in Illinois because Meredith conducts

substantial business within Illinois such that Meredith has significant, continuous, and pervasive

contacts with the State of Illinois.

          17.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Meredith

is subject to personal jurisdiction in this judicial District and because a substantial part of the

events giving rise to Plaintiff’s claims took place within this judicial District.

                               INTRADISTRICT ASSIGNMENT

          18.     Pursuant to Local Rule 5.1, this case should be assigned to the Eastern Division.

                                   FACTUAL BACKGROUND

                                  Illinois’s Right to Publicity Act

          19.   Recognizing the need to protect its citizens’ right of publicity, the Illinois

legislature enacted the IRPA to establish as a matter of law that each resident of Illinois has the

“right to control and to choose whether and how to use [his or her] identity for commercial

purposes.” 765 ILCS 1075/10.

          20.    Thus, the IRPA prohibits companies from, inter alia, publicly using or holding

out an individual’s identity, such as their name, likeness, or other identifying attribute, on or in

connection with the sale or offering for sale of a product, good, or service. See 765 ILCS 1075/5,

30(a).

          21.    Specifically, Section 30 of the IRPA states, in pertinent part:

                A person may not use an individual’s identity for commercial
                purposes during the individual’s lifetime without having obtained
                previous written consent from the appropriate person or persons
                specified in Section 20 of this Act or their authorized representative.
765 ILCS 1075/30(a) (emphasis added).

          22.    The IRPA defines “identity” as “an attribute of an individual that serves to identify

                                                   5
      Case: 1:21-cv-04531 Document #: 1 Filed: 08/24/21 Page 6 of 17 PageID #:6




the individual to an ordinary, reasonable viewer, or listeners including but not limited to (i) name,

(ii) signature, (iii) photograph, (iv) image, (v) likeness, or (vi) voice.” 765 ILCS 1075/5.

       23.      Despite the fact that scores of Illinois residents subscribe to Meredith’s

publications, Meredith disregarded its legal responsibilities to these individuals by offering for

sale and selling to the community at large its customers’ statutorily protected identifying

information without their consent, in direct violation of the IRPA.

    The Personal Information Market: Consumers’ Personal Information Has Real Value

       24.      In 2001, Federal Trade Commission (“FTC”) Commissioner Orson Swindle

remarked that “the digital revolution . . . has given an enormous capacity to the acts of collecting

and transmitting and flowing of information, unlike anything we’ve ever seen in our lifetimes . . .

[and] individuals are concerned about being defined by the existing data on themselves.”1

       25.      Two decades later, Commissioner Swindle’s comments ring truer than ever, as

consumer data feeds an information marketplace that supports a $140 billion dollar per year online

advertising industry in the United States.2

       26.      The FTC has also recognized that consumer data possesses inherent monetary

value within the new information marketplace and publicly stated that:

               Most consumers cannot begin to comprehend the types and amount
               of information collected by businesses, or why their information
               may be commercially valuable. Data is currency. The larger the data
               set, the greater potential for analysis—and profit.3
       27.      In fact, an entire industry exists while companies known as data aggregators


1
       The Information Marketplace: Merging and Exchanging Consumer Data (Mar. 13, 2001),
at     8:15-11:16,      available     at    https://www.ftc.gov/sites/default/files/documents/
public_events/information-marketplace-merging-and-exchanging-consumer-data/transcript.pdf
2
        See Megan Graham, Digital ad spend grew 12% in 2020 despite hit from pandemic,
CNBC (Apr. 7, 2021), https://www.cnbc.com/2021/04/07/digital-ad-spend-grew-12percent-in-
2020-despite-hit-from-pandemic.html.
3
        Statement of FTC Commissioner Pamela Jones Harbour (Dec. 7, 2009), at 2, available at
https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-exploring-
privacy-roundtable/091207privacyroundtable.pdf (emphasis added).

                                                 6
      Case: 1:21-cv-04531 Document #: 1 Filed: 08/24/21 Page 7 of 17 PageID #:7




purchase, trade, and collect massive databases of information about consumers. Data aggregators

then profit by selling this “extraordinarily intrusive” information in an open and largely

unregulated market.4

       28.      The scope of data aggregators’ knowledge about consumers is immense: “If you

are an American adult, the odds are that [they] know[] things like your age, race, sex, weight,

height, marital status, education level, politics, buying habits, household health worries, vacation

dreams—and on and on.”5

       29.      Further, “[a]s use of the Internet has grown, the data broker industry has already

evolved to take advantage of the increasingly specific pieces of information about consumers that

are now available.”6

       30.      Recognizing the serious threat the data mining industry poses to consumers, on

July 25, 2012, the co-Chairmen of the Congressional Bi-Partisan Privacy Caucus sent a letter to

nine major data brokerage companies seeking information on how those companies collect, store,

and sell their massive collections of consumer data.7

       31.      In their letter, the co-Chairmen recognized that:

               By combining data from numerous offline and online sources, data
               brokers have developed hidden dossiers on every U.S. consumer.
               This large[-]scale aggregation of the personal information of

4
      See Martha C. White, Big Data Knows What You’re Doing Right Now, TIME.com (July
31, 2012), http://moneyland.time.com/2012/07/31/big-data-knows-what-youre-doing-right-
now/.
5
      Natasha Singer, You for Sale: Mapping, and Sharing, the Consumer Genome, N.Y. Times
(June 16, 2012), https://www.nytimes.com/2012/06/17/technology/acxiom-the-quiet-giant-of-
consumer-database-marketing.html.
6
       Letter from Senator John D. Rockefeller IV, Chairman, Senate Committee on Commerce,
Science, and Transportation, to Scott E. Howe, Chief Executive Officer, Acxiom (Oct. 9, 2012)
available at http://www.commerce.senate.gov/public/?a=Files.Serve&File_id=3bb94703-5ac8-
4157-a97b-a658c3c3061c.
7
         See Bipartisan Group of Lawmakers Query Data Brokers About Practices Involving
Consumers’ Personal Information, Website of Senator Ed Markey (July 24, 2012),
http://www.markey.senate.gov/news/press-releases/bipartisan-group-of-lawmakers-query-data-
brokers-about-practices-involving-consumers-personal-information.

                                                 7
      Case: 1:21-cv-04531 Document #: 1 Filed: 08/24/21 Page 8 of 17 PageID #:8



               hundreds of millions of American citizens raises a number of serious
               privacy concerns.8
       32.      Data aggregation is especially troublesome when consumer information is sold to

direct-mail advertisers. In addition to causing waste and inconvenience, direct-mail advertisers

often use consumer information to lure unsuspecting consumers into various scams,9 including

fraudulent sweepstakes, charities, and buying clubs.

       33.      Thus, when companies like Meredith sell the identities of its customers to data

aggregators, data cooperatives, and direct-mail advertisers, they contribute to the “[v]ast databases

of names and personal information” that are often “sold to thieves by large publicly traded

companies,” which “put[s] almost anyone within the reach of fraudulent telemarketers” and other

criminals.10

       34.      Moreover, Meredith does not limit its sale of its subscriber mailing lists to data

aggregators, but rather offers for sale and frequently sells these lists (again, on which purchasers

of subscriptions to its publications are identified by name and address and other personally

identifying attributes) to various other members of the general public who were willing to purchase

them, either directly or through one or more intermediary acting on its behalf and at its direction.

       35.      Indeed, the NextMark website and various other similar online subscriber list

marketplaces are accessible to the general public and are often used by members of the general

public to facilitate purchases of Meredith’s subscriber lists from Meredith.

       36.      Information sales like Meredith’s are particularly dangerous to the elderly. “Older

Americans are perfect telemarketing customers, analysts say, because they are often at home, rely

on delivery services, and are lonely for the companionship that telephone callers provide.”11 The

8
         Id.
9
        See Prize Scams, Federal Trade Commission, http://www.consumer.ftc.gov/articles/0199-
prize-scams (last accessed Aug. 24, 2021).
10
        Charles Duhigg, Bilking the Elderly, With a Corporate Assist, N.Y. Times (May 20, 2007),
http://www.nytimes.com/2007/05/20/business/20tele.html?pagewanted=all&_r=0.
11
       Id.

                                                  8
      Case: 1:21-cv-04531 Document #: 1 Filed: 08/24/21 Page 9 of 17 PageID #:9




FTC notes that “[t]he elderly often are the deliberate targets of fraudulent telemarketers who take

advantage of the fact that many older people have cash reserves or other assets to spend on

seemingly attractive offers.”12

        37.       Indeed, an entire black market exists while the personal information of vulnerable

elderly Americans is exchanged.        Thus, information sales like Meredith’s are particularly

troublesome because of their cascading nature: “Once marked as receptive to [a specific] type of

spam, a consumer is often bombarded with similar fraudulent offers from a host of scam artists.”13

        38.       Meredith is not alone in jeopardizing its subscribers’ rights to publicity in

exchange for increased revenue: selling subscriber information to data aggregators, data

appenders, data cooperatives, direct marketers and other parties on the open, publicly accessible

market is a widespread practice in the publishing industry.

        39.       Thus, as consumer data has become an ever-more valuable commodity, the data

mining industry has experienced rapid and massive growth.

        40.       Unfortunately for consumers, this growth has come at the expense of their most

basic rights.

Meredith Unlawfully Sells and Offers to Sell Mailing Lists Containing its Customers’ Names,
                  Addresses, and Other Personal Reading Information
        41.       Meredith maintains a vast digital database comprised of its customers’ identifying

information and other Personal Reading Information.

        42.       Meredith, either directly or through one or more intermediary acting on its behalf

and at its direction (including through NextMark and/or one or more “list manager” and/or “list

broker”), offers to sell and actually sells to the community at large mailing lists on which appear

its customers’ names, addresses and other Personal Reading Information on the open market to

12
        Fraud Against Seniors: Hearing before the Senate Special Committee on Aging (Aug. 10,
2000) (prepared statement of the FTC), available at https://www.ftc.gov/sites/default/
files/documents/public_statements/prepared-statement-federal-trade-commission-fraud-against-
seniors/agingtestimony.pdf.
13
        See id.

                                                  9
    Case: 1:21-cv-04531 Document #: 1 Filed: 08/24/21 Page 10 of 17 PageID #:10




anyone willing to pay for it, including on a regular basis to data miners, aggregators, appenders,

and cooperatives, aggressive marketing companies, other consumer-facing businesses, non-profit

organizations seeking to raise awareness and solicit donations, and political organizations

soliciting donations, votes, and volunteer efforts.

       43.       These lists identify individuals, by name and address (among other information),

as having purchased subscriptions to particular magazines from Meredith.

       44.       As a result of Meredith’s data compiling and sales practices, any member of the

public can purchase mailing lists from Meredith.

       45.       Meredith’s practices of selling and offering to sell mailing lists that use its

subscribers’ identities in this way puts consumers, especially the more vulnerable members of

society, at risk of serious harm from scammers.

       46.       Meredith does not seek its customers’ prior written consent to any of these

practices and its customers remain unaware that their identities, including their names, addresses,

and other Personal Reading Information and sensitive demographic details (as well as information

identifying the particular publication to which each of them subscribed), are on mailing lists that

Meredith directs to the community at large and sells on the open market to any member of the

public interested in purchasing them.

       47.       Consumers can purchase Meredith subscriptions through numerous media outlets,

including the Internet, telephone, or traditional mail.

       48.       Regardless of how the consumer subscribes, Meredith uniformly fails to obtain

consent from—or even provide effective notice to—its customers before engaging in the practices

described herein.

       49.       By and through these actions, Meredith has intentionally publicly used Plaintiff’s

and numerous other Illinoisans’ identities for commercial purposes without any of these

individuals’ prior written consent, in direct violation of the IRPA.




                                                  10
    Case: 1:21-cv-04531 Document #: 1 Filed: 08/24/21 Page 11 of 17 PageID #:11




                              CLASS ACTION ALLEGATIONS

       50.     Plaintiff seeks to represent a class defined as:

               All Illinois residents who, at any point in the relevant statutory
               period, had their names appear on a mailing list sold or offered for
               sale to members of the public by Meredith without consent (the
               “Class”).
       51.     Members of the Class are so numerous that their individual joinder herein is

impracticable. On information and belief, members of the Class number in the thousands. The

precise number of Class members and their identities are unknown to Plaintiff at this time but may

be determined through discovery. Class members may be notified of the pendency of this action

by mail and/or publication through the records of Defendant.

       52.     Common questions of law and fact exist as to all Class members and predominate

over questions affecting only individual Class members. Common legal and factual questions

include, but are not limited to: (a) whether Meredith used Plaintiff’s and the Class’s “identities”

for a “commercial purpose” by offering to sell to the community at large and/or selling to anyone

willing to pay, mailing lists identifying by name each purchaser of a subscription to each of

Meredith’s publications; (b) whether Meredith obtained written consent before selling and offering

for sale mailing lists identifying them as subscribers to particular publications by name, to anyone

willing to pay; and (c) whether Meredith’s practices of selling and offering for sale mailing lists

identifying them as subscribers to particular publications by name, to anyone willing to pay,

violated the IRPA.

       53.     The claims of the named Plaintiff are typical of the claims of the Class in that the

named Plaintiff and the Class sustained damages as a result of Defendant’s uniform wrongful

conduct, based upon Defendant’s practices of selling and offering for sale mailing lists identifying

them as subscribers to particular publications by name, to anyone willing to pay.

       54.     Plaintiff is an adequate representative of the Class because her interests do not

conflict with the interests of the Class members she seeks to represent, she has retained competent

counsel experienced in prosecuting class actions, and she intends to prosecute this action

                                                 11
    Case: 1:21-cv-04531 Document #: 1 Filed: 08/24/21 Page 12 of 17 PageID #:12




vigorously. The interests of Class members will be fairly and adequately protected by Plaintiff

and her counsel.

        55.     The class mechanism is superior to other available means for the fair and efficient

adjudication of the claims of Class members. Each individual Class member may lack the

resources to undergo the burden and expense of individual prosecution of the complex and

extensive litigation necessary to establish Defendant’s liability. Individualized litigation increases

the delay and expense to all parties and multiplies the burden on the judicial system presented by

the complex legal and factual issues of this case. Individualized litigation also presents a potential

for inconsistent or contradictory judgments. In contrast, the class action device presents far fewer

management difficulties and provides the benefits of single adjudication, economy of scale, and

comprehensive supervision by a single court on the issue of Defendant’s liability. Class treatment

of the liability issues will ensure that all claims and claimants are before this Court for consistent

adjudication of the liability issues.

                                        CLAIM FOR RELIEF

                      Violation of the Illinois Right to Publicity Act § 30(a)
                        (By Plaintiff on Behalf of Herself and the Class)
        56.     Plaintiff repeats the allegations contained in the foregoing paragraphs as if fully set

forth herein.

        57.     Plaintiff brings this claim individually and on behalf of members of the Class

against Defendant.

        58.     Plaintiff is a “living . . . natural person” and thus an “individual” within the meaning

of the IRPA.

        59.     As a corporation in the business of publishing and selling magazine subscriptions,

Meredith is a juristic “person” within the meaning of the IRPA. See IRPA § 5.

        60.     Plaintiff, an Illinois resident, purchased a subscription to InStyle magazine from

Meredith during the time period relevant to this action.



                                                  12
    Case: 1:21-cv-04531 Document #: 1 Filed: 08/24/21 Page 13 of 17 PageID #:13




       61.     Each member of the Class likewise resides in Illinois and purchased from Meredith

a subscription to one of its various publications.

       62.     Prior to and at the time Plaintiff subscribed to InStyle, Meredith did not notify

Plaintiff that it would publicly use her identity for commercial purposes by selling or offering to

sell her Personal Reading Information—full name, home address, and title of the publication

subscribed to—as well as myriad other personal and demographic information such as gender, age,

and income on the open market to any member of the public willing to pay for them, and Plaintiff

has never consented (in writing or otherwise) to Meredith doing so.

       63.     Meredith likewise failed to notify any of its other subscribers, including the

members of the Class, that it would use their identities for commercial purposes by selling or

offering to sell their Personal Reading Information (or the Personal Reading Information of all of

its customers) on the open market, and none of the members of the Class has consented (in writing

or otherwise) to Meredith doing so.

       64.       After Plaintiff purchased a subscription to InStyle from Meredith, and during the

relevant statutory period, Meredith, either directly or through one or more intermediary acting on

its behalf and at its direction (including through NextMark and/or one or more “list manager”

and/or “list broker”), offered for sale to the community at large mailing lists on which appear

Plaintiff’s Personal Reading Information (which identified her as an individual to whom Meredith

had sold a InStyle subscription) and sold those lists on the open market to any member of the public

willing to purchase them, including to data aggregators, data appenders, data cooperatives, and

various other persons interested in buying it to contact Meredith subscribers, without first

obtaining Plaintiff’s written consent or even giving her prior notice of its public use and holding

out of her identity in this way.

       65.       Likewise, during the statutory period relevant to this action, Meredith offered for

sale to the community at large and sold on the open market to any member of the public interested

in purchasing, mailing lists on which appear the names and addresses (among other Personal


                                                 13
     Case: 1:21-cv-04531 Document #: 1 Filed: 08/24/21 Page 14 of 17 PageID #:14




Reading Information) of all of the individuals who had purchased subscriptions to its various

publications, including Plaintiff and each member of the Class.

        66.         The name “Diana Duda,” one of the identifying attributes Meredith publicly used,

is “the actual name . . . by which [Plaintiff] is known that is intended to identify [her],” on the

mailing lists that Meredith sold or offered for sale on the open market to anyone willing to pay for

them. Accordingly, Meredith used Plaintiff’s “identity” within the meaning of the IRPA. See 765

ILCS 1075/5.

        67.         Meredith’s offers to sell mailing lists on which Plaintiff’s and the other Class

members’ identities appeared to the community at large, and its sale of those lists to any member

of the public willing to pay for them, caused Plaintiff’s and the class members’ names and

additional identifying attributes to be made accessible to, and shared with, the community at large

and exposed to general view by Meredith or by one or more intermediaries acting on its behalf and

at its direction.

        68.         Meredith’s making accessible and sharing Plaintiff’s and the class members’

identities with the community at large, including any member of the general public willing to

purchase them, constituted “public use or holding out” within the meaning of IRPA. See Id.

        69.         The subscriber mailing lists that Meredith sold and offered to sell constituted a

“products,” “merchandise,” or “goods” within the meaning of the IRPA.

        70.         Thus, Meredith’s sales and offers to sell mailing lists on which Plaintiff’s and the

other Class members’ names appeared, on the open market to any member of the public willing to

pay for them, constituted “the public use or holding out of [these] individual[s’] identit[ies] . . . on

. . . a product, merchandise, [or] goods[.]” IRPA § 5.

        71.         Accordingly, Meredith, either directly or through one or more intermediary acting

on its behalf and at its direction (including through NextMark and/or one or more “list manager”

and/or “list broker”), used Plaintiff’s and the Class members’ identities “for commercial purposes”

within the meaning of the IRPA. 765 ILCS 1075/5.

        72.         Additionally, the subscription to InStyle that Meredith sold to Plaintiff, and the
                                                    14
    Case: 1:21-cv-04531 Document #: 1 Filed: 08/24/21 Page 15 of 17 PageID #:15




subscriptions to the various publications that Meredith sold to the members of the Class, each

constituted a “product,” piece of “merchandise,” or a “good[]” within the meaning of the IRPA.

See 765 ILCS 1075/5.

       73.       Thus, Meredith’s sales and offers to sell mailing lists on which Plaintiff’s and the

other Class members’ names appeared constituted “the public use or holding out of [these]

individual[s’] identit[ies] . . . in connection with the offering for sale or sale of a product,

merchandise, [or] good . . .,” 765 ILCS 1075/5.

       74.       Specifically, because the mailing lists identified by name individuals who had

previously purchased subscriptions to particular publications from Meredith, Meredith’s use of

Plaintiff’s and the other Class members’ identities on the mailing lists it sold and offered to sell to

the community at large was done in connection with its prior sales of an InStyle subscription to

Plaintiff and subscriptions to its various publications to the other members of the Class.

       75.       Accordingly, Meredith, either directly or through one or more intermediary acting

on its behalf and at its direction (including through NextMark and/or one or more “list manager”

and/or “list broker”), used Plaintiff’s and the Class members’ identities “for commercial purposes”

within the meaning of the IRPA. 765 ILCS 1075/5.

       76.     By selling and offering to sell mailing lists on which Plaintiff’s and the other Class

members’ names appeared (which identified each of them as having purchased a subscription to a

particular publication sold by Meredith) to the community at large, to any member of the public

willing to pay for them, without first asking for much less obtaining Plaintiff’s or the other Class

members’ prior written consent, Meredith, either directly or through one or more intermediary

acting on its behalf and at its direction (including through NextMark and/or one or more “list

manager” and/or “list broker”), used Plaintiff’s and the other Class members’ identities for

commercial purposes during their lifetimes in violation of section 30(a) of the IRPA. See 765 ILCS

1075/30(a).

       77.     As a result of Meredith’s nonconsensual public use and holding out of their

identities for commercial purposes, Plaintiff and the members of the Class have suffered violations
                                                  15
    Case: 1:21-cv-04531 Document #: 1 Filed: 08/24/21 Page 16 of 17 PageID #:16




of their rights of publicity. On behalf of herself and the Class, Plaintiff seeks: (1) an injunction

requiring Defendant to obtain prior written consent from Illinois customers prior to the use of their

identities for commercial purposes pursuant to 765 ILCS 1075/50; (2) $1,000.00 in statutory

liquidated damages to herself and each Class member pursuant to 765 ILCS 1075/40 (a)(2); and

(3) costs and reasonable attorneys’ fees pursuant to 765 ILCS 1075/55.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks

a judgment against Defendant as follows:

                 A.    For an order certifying the Class under Rule 23 of the Federal Rules of Civil

       Procedure and appointing Plaintiff as representative of the Class and Plaintiff’s attorneys

       as Class Counsel to represent the Class;

                 B.     For an order declaring that Defendant’s conduct as described herein

       violates the Illinois Right to Publicity Act, 765 ILCS 1075, et seq.;

                 C.     For an order finding in favor of Plaintiff and the Class on the count asserted

       herein;

                 D.     For an injunction requiring Defendant to obtain prior written consent from

       Illinois customers prior to the use of their identities for commercial purposes pursuant to

       IRPA § 50;

                 E.     For an award of $1,000 to Plaintiff and each Class member, as provided

       by the IRPA § 40(a)(2);

                 F.     For an order awarding Plaintiff and the Class their reasonable attorneys’

       fees and expenses and costs of suit pursuant to IRPA § 55; and

                 G.     For prejudgment interest on all amounts awarded.

                                        JURY DEMAND

       Plaintiff demands a trial by jury on all causes of action and issues so triable.




                                                  16
    Case: 1:21-cv-04531 Document #: 1 Filed: 08/24/21 Page 17 of 17 PageID #:17




Dated: August 24, 2021                Respectfully submitted,

                                      NICK LARRY LAW LLC

                                      By: s/ J. Dominick Larry

                                      J. Dominick Larry
                                      nick@nicklarry.law
                                      NICK LARRY LAW LLC
                                      8 S Michigan Ave, Suite 2600
                                      Chicago, IL 60603
                                      Tel: (773) 694-4669
                                      Fax: (773) 694-4691

                                      Local Counsel for Plaintiffs and the Putative Class

                                      Frank S. Hedin (admission to be sought)
                                      fhedin@hedinhall.com
                                      Arun G. Ravindran (admission to be sought)
                                      aravindran@hedinhall.com
                                      HEDIN HALL LLP
                                      1395 Brickell Avenue, Suite 1140
                                      Miami, Florida 33131
                                      Tel: (305) 357-2107
                                      Fax: (305) 200-8801

                                      Counsel for Plaintiff and the Putative Class




                                        17
